B6A (Official Form 6A) (12/07)

In re:   Netwurx, Inc.                                                                                                                              Case No.          08-26131
                                                                                                ,
                                                                                                                                                                                 (If known)
                                                                 Debtor




                                                       SCHEDULE A - REAL PROPERTY
               Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
         cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable
         for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing
         an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None”
         under “Description and Location of Property.”



             Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G -
         Executory Contracts and Unexpired Leases.

              If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
         claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

              If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C -
         Property Claimed as Exempt.



                                                                                                                                                      CURRENT VALUE




                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                       OF DEBTOR'S
                                                                                                                                                        INTEREST IN




                                                                                                                  OR COMMUNITY
                   DESCRIPTION AND                                                                                                                  PROPERTY, WITHOUT                    AMOUNT OF
                     LOCATION OF                                        NATURE OF DEBTOR'S
                                                                                                                                                      DEDUCTING ANY                       SECURED
                                                                       INTEREST IN PROPERTY                                                           SECURED CLAIM
                      PROPERTY                                                                                                                                                             CLAIM
                                                                                                                                                       OR EXEMPTION




                                                                                                    Total      Ø                           0.00
                                                                                                                                      (Report also on Summary of Schedules.)




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